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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

  CAMBRIDGE THERAPEUTIC
  TECHNOLOGIES, LLC,

                 Plaintiff,

         v                                                Case No.:

  SYNERGY PHARMACY SERVICES, INC.,

                 Defendant.


                                         COMPLAINT

         Plaintiff Cambridge Therapeutic Technologies, LLC ("Cambridge"), by and

  through undersigned counsel, sues Defendant Synergy Pharmacy Services, Inc.

  ("Synergy")    as   follows:

                                   NATURE OF THE ACTION

         1.      This is an action to recover damages arising from Synergy's unlawful

  failure to pay Cambridge for goods received and accepted. Synergy ordered goods

  and received corresponding invoices for the goods. Synergy did not object to the

  invoices or return the goods. Despite Cambridge's demands for payment, Synergy

  never paid any of the invoices, and a balance of $333,890.18, plus interest and costs is

  outstanding.
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                        PARTIES, JURISDICTION, AND VENUE

         2.       Plaintiff Cambridge is a limited liability company with its principal

  place of business in New Jersey. Its Class A members are:

              o   John H. Klein, a citizen of Alpine, New Jersey

              o   Robert & Monica Breslow, citizens of Glenview, Illinois

              o   Blue Valley LLC, with a principal place of business in Bellaire, Texas

              o   Mark Adams, a citizen of Boxford, Massachusetts

              o   Dr. Greg Simonian, a citizen of Paramus, New Jersey

              .   BarV A. Posner, a citizen of Tenafly, New Jersey

         3,       Plaintiffls other members are citizens of various jurisdictions, but none

  are citizens of the state of Florida.

         4.       Defendant Synergy is a Florida corporation with its principal place of

  business in Palm Harbor, Florida.

         5.       The Court has jurisdiction over the subject matter of this action pursuant

  to 28 U.S.C. $1332 because the parties to this action are completely diverse and the

  amount in controversy exceeds $75,000.00 exclusive of interest and costs.

         6.       Venue is proper in this district pursuant to 28 U.S.C. $1391(b) because

  Synergy is a resident of this district.




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                               GENERAL ALLEGATIONS

           7.    Cambridge develops and markets solutions for medication adherence

  (í.e., systems to help patients properly take their medication). For              example,

  Cambridge sells calendarized dosing packs for certain medications and prescription

  anti-inflammatory gels, including a gel known as Diclofenac        3o/o   gel.

           8.     Synergy Pharmacy Services, Inc. is, ínter alia, a company that provides

  pharmaceutical products to consumers.

           9.    In or about July, 2016, Cambridge came to an agreement with Synergy

  to provide certain pharmaceutical products to Synergy, including a non-steroidal anti-

  inflammatory drug known as Diclofenac       3o/o   gel, whereby payment from Synergy to

  Cambridge would be due thirty days from the invoice date.

           10.    On July 19, 2016, Cambridge invoiced Synergy for five hundred units

  of Diclofenac 3Yo gel The Diclofenac        3o/o gel     unit price was $330.00. The five

  hundred units, therefore, cost $165,000.00. Freight costs were $1,945.09. The July

  19,2016 invoice, number 61533, memorializing the order is attached as Exhibit        A. A
  copy of the purchase order is attached as Exhibit K.

           11.    The orderwas shipped onJuly 19,2016. The Packing Slip is attached

  as   Exhibit B. The Bill of Lading is attached   as   Exhibit C.

           12.    The order was shipped by Legacy Pharmaceutical Packing,          LLC.   The

  Prescription Drug Pedigree is attached as Exhibit D




                                              a
                                              J
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           13.   The order was shipped by UPS Next Day            Air.   The shipping labels are

  attached as Exhibit E.

           14.    On July 25,2016, Cambridge invoiced Synergy for an additional five

  hundred units of Diclofenac 3Yo gel. The Diclofenac 3% gel unit price was $330.00.

  The five hundred units, therefore, cost $165,000.00. Freight costs were $1,945.09.

  The July 25, 2016 invoice, number 61582, memorializing the order is attached                as


  Exhibit F.

           15.    The order was shipped on JuIy 25,2016. The Packing Slip is attached

  as   Exhibit G. The Bill of Lading is attached    as   Exhibit H.

           16.    The order was shipped by Legacy Pharmaceutical Packing,            LLC.    The

  Prescription Drug Pedigree is attached as Exhibit I.

           17.    The order was shipped by UPS Next Day           Air.   The shipping labels and

  Shipment Receipt are attached as Exhibit J.

           18.    Synergy did not return the Diclofenac 3Vo gel, or object to either the

  July 19 or July 25 invoices.

           19.    The invoices provided that interest at a rate equal to the lesser of one ( 1)

  percent per month compounded monthly (annual rate 12.68%)                     or highest   rate

  permitted by applicable law, would apply to late payment.

           20.    Each invoice stated that the invoices were for the benefit of Cambridge.




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         21.    Accordingly, 5333,890.18, plus applicable interest, is due and owing to

  Cambridge as a result of the above-described sales to Synergy.

         22.    Cambridge has made demand upon Synergy for payment in       full for the

  pharmaceutical products it provided.

         23. As of the date of this Complaint,       nearly a year after receiving the

  invoices, Synergy has failed and refused to make payment in full of the 5333,890.18

  balance due to Cambridge

                         COUNT I _ BREACH OF CONTRACT

         24.    Cambridge repeats and realleges each of the allegations in paragraphs I

  through 23 as though set forth fully herein.

         25.    Cambridge and Synergy entered into the agreement in July, 2016

         26.    Pursuant    to that agreement, Cambridge           agreed   to   provide

  pharmaceutical products to Synergy for the invoiced purchase price.

         27.    Synergy breached its obligations to pay for the pharmaceutical products

  under the agreement.

         28.    Cambridge fully performed its obligations under the agreement.

         29.    As a direct and proximate result of Synergy's breach, Cambridge has

  suffered damages   in an amount to be determined at trial, but in no event less than

  $333,890.18 plus interest, and costs




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                                COUNT II _ IMPLIED CONTRACT

         30.       Cambridge repeats and realleges each of the allegations in paragraphs   1



  through 23 as though set forth fully herein.

         31.       The parties assented to a process by which Cambridge would provide

  goods to Synergy and Synergy would pay for such goods.

         32.       Synergy knowingly accepted the benefit of the pharmaceutical goods

  received from Cambridge, and never returned them

         33.       The purchase price for goods delivered to and accepted by Synergy was

  s333,890. I 8.

         34.       Synergy failed and refused to pay the purchase price of $333,890.18 for

  pharmaceutical products delivered and accepted by Synergy from Cambridge

         35.       Cambridge has been damaged        in the amount of   S333,890.18, plus

  interest, as a result   of Synergy's refusal to pay for pharmaceutical products supplied

  by Cambridge.

         36.       The circumstances are such that Synergy should be required to pay for

  the benefit received.

                                  COUNT     III - OPEN ACCOUNT
         37.       Cambridge repeats and realleges each of the allegations in paragraphs I

  through 23 as though set forth fully herein.




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         38.    Pursuant   to a sales contract between the parties, Cambridge provided

  pharmaceutical products    to   Synergy at Synergy's request   in the agreed sum and
  reasonable value of $333,890.18. This amount, plus interest, remains due and owing.

         39.    As reflected in Exhibits A and F hereto, Cambridge timely rendered

  invoices   to Synergy reflecting the products delivered, and amount due for those
  products

         40.    As reflected in Exhibits A through K hereto, Cambridge in           fact

  delivered the pharmaceutical products to Synergy.

         41.    The sale of pharmaceutical products were transactions between the

  parties that created a series ofcharges.

         42.     Cambridge prepared an itemized statement of the account.

         43.     Synergy owes money on the account.

         44.    The amount claimed by Cambridge represents the agreed upon sum and

  reasonable value of the goods delivered

                               COUNT IV _ ACCOUNT STATED

         45.     Cambridge repeats and realleges each of the allegations in paragraphs I

  through 23 as though set forth fully herein.

         46.     Cambridge and Synergy agreed that Cambridge would provide Synergy

  with pharmaceutical products, and upon receipt of the products and invoices, Synergy

  would pay Cambridge the agreed upon and reasonable value of the goods delivered.




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             47   .   Cambridge invoiced Synergy for $333,890.18, plus interest, for overdue

  amounts.

             48.      Synergy promised to pay, or failed to object to this sum, and no part

  thereof has been paid.

             49.      The sale of pharmaceutical products were transactions between the

  parties.

             50.      Synergy has failed to respond, object to or otherwise refute the invoices

  within     a reasonable time.

             51.      Such charges constitute an account stated in the sum of $333,890.18,

  plus interest, and costs. As of JuIy 25,2016, the date of Cambridge's last invoice to

  Synergy, an account was stated between Cambridge and Synergy upon which

  $333,890.18, plus interest, remains due to Cambridge from Synergy.

                                  COUNTV_QUANTUMMERUIT

             52.      Cambridge repeats and realleges each of the allegations in paragraphs   1




  through 23 as though set forth fully herein.

             53.      Cambridge provided pharmaceutical products, in good faith, to Synergy,

  at Synergy's request, in the agreed upon sum and reasonable value of which $333,

  890.18 remains due and owing.

             54.      Synergy knowingly accepted the benefit of the pharmaceutical products

  provided by Cambridge.




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         55.          Synergy's acceptance of the goods was under circumstances where in

  the normal course of common affairs a reasonable person receiving such benefit

  would ordinarily expect to pay for it.

         56,          Despite due demand, Synergy has not paid Cambridge, and at no time

  has Synergy disputed the existence or amount of its debt to Cambridge, which

  presently totals $333,890.18, plus interest, and costs

         57.          The circumstances are such that   it would be inequitable for Defendant

  Synergy         to retain the benefits it received without paying the fair value of     these

  benefits.

                             COUNT VI _ UNJUST ENRICHMENT

         58.          Cambridge repeats and realleges each of the allegations in paragraph I

  through     I   and 10 through 23 as though set forth fully herein.

         59.          Cambridge provided pharmaceutical products, in good faith, to Synergy,

  at Synergy's request, in the agreed upon sum and                reasonable value   of   which

  $333,890.18 remains due and owing.

         60.          Cambridge's provision of pharmaceutical products conferred a benefit

  upon Synergy's at Cambridge's expense.

         61.          Synergy accepted and has retained the benefit of receiving Cambridge's

  products.




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         62.      Equity and good conscience require that Synergy make restitution to

   Cambridge totaling   $3   33,890. I 8, plus interest.

                                     PRAYER FOR RELIEF

         WHEREFORE, Cambridge demands judgment against Synergy as follows:

         A.       Damages      in an amount not less than          $333,890.18, plus interest, and

         costs;

         B.       On all Causes of Action, award Cambridge's reasonable attorneys' fees

         and the costs and disbursements of this action; and

         C.       Such other and additional relief as this Court may deem just, proper, and

         equitable.




   Dated: JuIy 27,2017


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